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                        UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF NEW YORK



 UNITED STATES OF AMERICA, et al.,

                           Plaintiffs,

                   v.                                Case No. 1:24-cv-03973 (AS)(SLC)
                                                     [rel. 1:24-cv-03994 and 1:24-cv-04106]
 LIVE NATION ENTERTAINMENT, INC.

 and

 TICKETMASTER L.L.C.

                           Defendants.




 [PROPOSED] AMENDED CIVIL CASE MANAGEMENT PLAN AND SCHEDULING

                                            ORDER

       After consultation with counsel for Plaintiff United States of America and the Plaintiff

States of Arizona, Arkansas, California, Colorado, Connecticut, Florida, Illinois, Indiana, Iowa,

Kansas, Louisiana, Maryland, Michigan, Minnesota, Mississippi, Nebraska, Nevada, New

Hampshire, New Jersey, New York, New Mexico, North Carolina, Ohio, Oklahoma, Oregon,

Rhode Island, South Carolina, South Dakota, Tennessee, Texas, Utah, Vermont, Washington,

West Virginia, Wisconsin, and Wyoming, the Commonwealths of Massachusetts, Pennsylvania,

and Virginia, and the District of Columbia, acting by and through their respective Attorneys

General (collectively, “Plaintiff States”), and Defendants Live Nation Entertainment, Inc. and

Ticketmaster L.L.C. (collectively “Defendants”), the following Case Management Plan is adopted.
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This plan is also a scheduling order pursuant to Rules 16 and 26(f) of the Federal Rules of Civil

Procedure.

1. All parties do not consent to conducting all further proceedings before a United States

     Magistrate Judge, including motions and trial. 28 U.S.C. §636(c). The parties are free to

     withhold consent without adverse substantive consequences.

2. Plaintiffs have demanded that this case be tried to a jury. Defendants contend that Plaintiffs’

     federal claims are not entitled to a trial by jury and that they have not properly pled, and

     cannot sustain, non-federal claims triable to a jury.

3. Joinder of additional parties must be accomplished by August 12, 2024.

4. Amended pleadings may be filed without leave of Court until August 12, 2024.

5.   Defendants must file any motion to transfer no later than July 19, 2024. Plaintiffs must file

     any opposition no later than August 9, 2024. Defendants must file any reply no later than

     August 16, 2024.

6. Discovery (in addition to the disclosures required by Fed. R. Civ. P. 26(a)):

     a. Documents. First requests for production of documents, if any, must be served by July 25,

        2024. Further document requests may be served as required, but no document request may

        be served later than 30 days prior to the date of the close of fact discovery as set forth in

        item 6(f) below.

     b. Interrogatories. Interrogatories pursuant to Rule 33.3(a) of the Local Civil Rules of the

        Southern District of New York must be served by February 27, 2025.                   No other

        interrogatories are permitted except upon prior express permission of the Court. No Rule

        33.3(a) interrogatories need be served with respect to disclosures automatically required

        by Fed. R. Civ. P. 26(a).



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c. Experts: Every party-proponent of a claim (including any counterclaim, crossclaim, or

   third-party claim) that intends to offer expert testimony in respect of such claim must make

   the disclosures required by Fed. R. Civ. P. 26(a)(2) by July 28, 2025. Every party-

   opponent of such claim that intends to offer expert testimony in opposition to such claim

   must make the disclosures required by Fed. R. Civ. P. 26(a)(2) by September 5, 2025. No

   expert testimony (whether designated as “rebuttal” or otherwise) will be permitted by other

   experts or beyond the scope of the opinions covered by the aforesaid disclosures except

   upon prior express permission of the Court, application for which must be made no later

   than 10 days after the date specified in the immediately preceding sentence. All experts

   may be deposed, but such depositions must occur within the time limit for all depositions

   as set forth below. Every party proponent of a claim (including any counterclaim,

   crossclaim, or third-party claim) that made Fed. R. Civ. P. 26(a)(2) disclosures must serve

   rebuttal expert reports, if any, by September 26, 2025. Every party-opponent be must

   serve sur-rebuttal expert reports, if any, by October 16, 2025.

d. Depositions. All fact depositions must be completed by June 27, 2025. Unless counsel

   agree otherwise or the Court so orders, depositions shall not commence until all parties

   have completed the initial disclosures required by Fed. R. Civ. P. 26(a)(1) or until four

   weeks from the date of this Order, whichever is earlier. Depositions shall proceed

   concurrently, with no party having priority, and no deposition shall extend beyond one

   business day, absent consent by all sides, except as provided in the Deposition Protocol,

   without prior leave of the Court. Each side is limited to 300 hours for fact depositions.

e. Request to Admit. Requests to Admit, if any, must be served by May 28, 2025.




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     f. All discovery is to be completed by October 30, 2025. Interim deadlines for items 6(a-e)

         above may be extended by the parties on consent without application to the Court, provided

         the parties are certain they can still meet the respective fact and expert discovery

         completion dates set forth in this paragraph. The discovery completion dates may be

         adjourned only upon a showing to the Court of extraordinary circumstances and may not

         be extended on consent. All fact discovery is to be completed by June 27, 2025.

7.   To assist the parties in planning discovery, and in view of the geographic dispersion of

     potential witnesses in this action outside this District and the importance of live testimony, the

     parties are permitted, under 15 U.S.C. § 23, to issue nationwide trial subpoenas from this Court,

     requiring witnesses to appear in this Court. The availability of nationwide service of process,

     however, does not make a witness who is otherwise “unavailable” for purposes of Fed. R. Civ.

     P. 32 and Fed. R. Evid. 804 available under those rules or otherwise affect the admissibility at

     trial of a deposition of a witness.

8. Post-discovery summary judgment motions in the form prescribed by the Court’s Individual

     Practices shall be served by November 10, 2025; answering papers by December 8, 2025; and

     reply papers by December 22, 2025. Each party must file its respective papers on the same

     date that such papers are served.

9. A final pre-trial conference shall be held on February 13, 2026 at 11 am EST. The timing

     and other requirements for the Joint Pretrial Order and/or other pre-trial submissions shall be

     governed by the Court’s Individual Practices.

10. Jury selection (if applicable) and trial shall commence on March 2, 2026.

11. All motions and applications shall be governed by Judge Subramanian’s Individual Practices.

     Counsel shall promptly familiarize themselves with all of the Court’s Individual Practices, as



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  well as with the Local Rules for the United States District Court for the Southern District of

  New York.


SO ORDERED.

Dated: ________, 2025                              _________________
New York, New York                                 ARUN SUBRAMANIAN
                                                   United States District Judge




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